                                            Case 20-12814-mkn         Doc 1239      Entered 10/28/20 17:00:23      Page 1 of 28




                                        1   BRETT A. AXELROD, ESQ.
                                                                                                         Electronically Filed October 28, 2020
                                            Nevada Bar No. 5859
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                                        6
                                                                       UNITED STATES BANKRUPTCY COURT
                                        7
                                        8                                         DISTRICT OF NEVADA

                                        9   In re                                                  Case No. BK-S-20-12814-mkn

                                       10           RED ROSE, INC.,                                Jointly Administered with
                                                                                                   Case No. BK-S-20-12815-mkn
                                       11
                                                      Affects Beachhead Roofing and Supply, Inc.   Case No. BK-S-20-12816-mkn
1980 Festival Plaza Drive, Suite 700




                                                      Affects California Equipment Leasing         Case No. BK-S-20-12818-mkn
    Las Vegas, Nevada 89135




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                                                       Association, Inc.                           Case No. BK-S-20-12819-mkn
          (702) 262-6899




                                       13             Affects Fences 4 America, Inc.               Case No. BK-S-20-12820-mkn
                                                      Affects James Petersen Industries, Inc.      Case No. BK-S-20-12821-mkn
                                       14             Affects PD Solar, Inc.                       Case No. BK-S-20-12822-mkn
                                       15             Affects Petersen Roofing and Solar LLC       Case No. BK-S-20-12823-mkn
                                                      Affects Petersen-Dean, Inc.                  Case No. BK-S-20-12824-mkn
                                       16             Affects PetersenDean Hawaii LLC              Case No. BK-S-20-12825-mkn
                                                      Affects PetersenDean Roofing and Solar       Case No. BK-S-20-12826-mkn
                                       17              Systems, Inc.                               Case No. BK-S-20-12827-mkn
                                                      Affects PetersenDean Texas, Inc.             Case No. BK-S-20-12829-mkn
                                       18
                                                      Affects Red Rose, Inc.                       Case No. BK-S-20-12831-mkn
                                       19             Affects Roofs 4 America, Inc.                Case No. BK-S-20-12833-mkn
                                                      Affects Solar 4 America, Inc.
                                       20             Affects Sonoma Roofing Services, Inc.        Chapter 11
                                                      Affects TD Venture Fund, LLC
                                       21             Affects Tri-Valley Supply, Inc.              DEBTORS’ MOTION FOR APPROVAL
                                       22             Affects All Debtors                          OF COMPROMISE, PURSUANT TO
                                                                                                   FED. R. BANKR. P. 9019, BY AND
                                       23                                                          AMONG DEBTORS, ACF FINCO I, LP
                                                                                                   AND THE OFFICIAL COMMITTEE OF
                                       24                                                          UNSECURED CREDITORS
                                       25
                                                                                                   Hearing Date: OST PENDING
                                       26                                                          Hearing Time: OST PENDING

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                                        1           Petersen-Dean, Inc. (“PDI”), Beachhead Roofing & Supply, Inc. (“Beachhead”), California
                                        2   Equipment Leasing Association, Inc. (“California Equipment”), Solar 4 America, Inc. (“Solar 4”),
                                        3   Fences 4 America, Inc. (“Fences 4”), James Petersen Industries, Inc. (“JP Industries”), PD Solar,
                                        4   Inc. (“PD Solar”), Sonoma Roofing Services, Inc. (“Sonoma”), Petersen Roofing and Solar LLC
                                        5   (“Petersen Roofing”), PetersenDean Texas, Inc. (“PD Texas”), Red Rose, Inc. (“Red Rose”),
                                        6   Roofs 4 America, Inc. (“Roofs 4”), Tri-Valley Supply, Inc. (“Tri-Valley”), Petersen Dean Hawaii
                                        7   LLC (“PD Hawaii”), Petersen Dean Roofing and Solar Systems, Inc. (“PD Roofing”), TD Venture
                                        8   Fund, LLC (“TD Venture” and, together with PDI, Beachhead, California Equipment, Solar 4,
                                        9   Fences 4, JP Industries, PD Solar, Sonoma, Petersen Roofing, PD Texas, Red Rose, Roofs 4, Tri-
                                       10   Valley, PD Hawaii and PD Roofing, collectively, the “Debtors” and each individually, a
                                       11   “Debtor”), in the above captioned jointly administered chapter 11 cases (collectively, the
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                                       12   “Bankruptcy Case”), hereby file this motion (the “Motion”) for the entry of an order, pursuant to
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                                       13   Bankruptcy Rule 9019(a)1, approving the Claims Settlement and 363 Sale Support Agreement
                                       14   (“Settlement Agreement”)2 by and between Debtors, ACF Finco I, LP (“ACF”), and the Official

                                       15   Committee of Unsecured Creditors3 (the “Committee” and, collectively with Debtors and ACF, the

                                       16   “Parties”).

                                       17
                                       18
                                                    1
                                                     All references to “chapter” and “section” herein shall be to the “Bankruptcy Code”
                                       19   appearing in Title 11 of the U.S. Code; all references to a “Bankruptcy Rule” shall refer to the
                                            Federal Rules of Bankruptcy Procedure; and all references to a “Local Rule” shall refer to the Local
                                       20
                                            Rules of Bankruptcy Practice of the U.S. Bankruptcy Court for the District of Nevada.
                                       21
                                                    2
                                                     Capitalized terms not defined herein shall have the meanings assigned to them in the
                                       22   Settlement Agreement. The Parties are finalizing Exhibit B to the Settlement Agreement (the
                                            Stipulated Cash Collateral Budget) and will file a fully executed copy, attaching Exhibit B, shortly.
                                       23           3
                                                     On June 27, 2020, the Unites States Trustee appointed the Committee for Debtors Red
                                       24   Rose, PD Solar, PDI, PD Hawaii, PD Roofing and PD Texas, which Committee is comprised of the
                                            following entities (i) ABC Supply Company, Inc.; (ii) Beacon Sales Acquisition, Inc.; (iii) DJ Roof
                                       25   and Solar Supply, LLC, (iv) Export Development Canada/Exportations et Developpment Canada;
                                            (v) Fabian Covarrubias as Class Actions Representative; (vi) National Union Fire Insurance
                                       26
                                            Company of Pittsburgh, Pa.; and (vii) Sterling National Bank, whose claims have been declared by
                                       27   the Committee to total approximately One Hundred Million Dollars ($100,000,000), with an overall
                                            creditor body owed approximately Two Hundred Fifty Million Dollars ($250,000,000) (collectively,
                                       28   the “Unsecured Creditors Claims”).

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                                        1           The Settlement Agreement embodies an agreement between the Parties with respect to,
                                        2   among other things, the treatment of the ACF Secured Claim (defined below), the Unsecured
                                        3   Creditors Claims, and resolves the various disputes among the Parties in the Bankruptcy Case,
                                        4   including without limitation, with respect to the TD Venture 9019 Motion (defined below) and the
                                        5   Committee Objection (defined below).
                                        6           The Debtors’ DIP lender, LS DE LLC and LSQ Funding Group, L.C. (collectively, the “DIP
                                        7   Factor”) has given limited consent to specific provisions in the Settlement Agreement, providing
                                        8   for segregation and use of certain identified assets that constitute its collateral, on the terms set forth
                                        9   in the Limited Consent of DIP Factor to Segregation and Use of Proceeds of Identified Assets (the
                                       10   “DIP Factor Limited Consent”).
                                       11           By this Motion, the Debtors request approval of the Settlement Agreement and
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                                       12   authorization from the Court to take all actions contemplated by the Settlement Agreement (as
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                                       13   described below). The Motion is made and based upon the following memorandum of points and
                                       14   authorities, the Declaration of Jeffrey C. Perea (the “Perea Declaration”) filed concurrently
                                       15   herewith, the papers and pleadings on file with the Court in the Bankruptcy Case, and any oral
                                       16   arguments the Court may entertain at the hearing on the Motion. A true and correct copy of the
                                       17   Settlement Agreement is attached as Exhibit 1 to the Perea Declaration.
                                       18           DATED this 28th day of October, 2020.
                                       19
                                                                                       FOX ROTHSCHILD LLP
                                       20
                                                                                       By:       /s/Brett A. Axelrod
                                       21                                                  BRETT A. AXELROD, ESQ.
                                                                                           Nevada Bar No. 5859
                                       22                                                  1980 Festival Plaza Drive, Suite 700
                                       23                                                  Las Vegas, Nevada 89135
                                                                                       Counsel for the Debtors
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                                        1                            MEMORANDUM OF POINTS AND AUTHORITIES
                                        2                                                       I.
                                        3                                       PRELIMINARY STATEMENT
                                        4           1.         The Settlement Agreement provides a comprehensive resolution of the disputes
                                        5   between the Parties and paves the way for the 363 Sale (defined below) to proceed. The Debtors
                                        6   have a limited liquidity window within which to continue to market and sell their assets as a going
                                        7   concern, and the terms for the Stalking Horse Agreement require the Debtors to maintain their
                                        8   business as a going concern through the date of closing of the proposed 363 Sale of the Assets. The
                                        9   Debtors’ business and financial position has substantially deteriorated during the pendency of the
                                       10   Bankruptcy Case and given the exigent circumstances surrounding the Debtors, the Parties are
                                       11   extremely concerned that the Debtors will be required to liquidate through chapter 7 proceedings
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                                       12   which will not maximize value for creditors if an auction is not conducted immediately for a 363
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                                       13   Sale of the Debtors’ Assets in accordance with the timeline set forth in the Letter of Intent. As set
                                       14   forth in greater detail below, the Committee has further determined it is in the unsecured creditors’
                                       15   best interests to support the 363 Sale of the Assets pursuant to the Stalking Horse Agreement, in
                                       16   concert with the provisions made for unsecured creditors set forth in the proposed Settlement
                                       17   Agreement. Therefore, the Settlement Agreement should be approved because it is in the best
                                       18   interests of the Debtors’ estates and creditors.
                                       19                                                      II.
                                       20                                               JURISDICTION
                                       21           2.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.
                                       22   This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).
                                       23           3.         Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.
                                       24           4.         The statutory bases for the relief requested herein are Bankruptcy Code section 105

                                       25   and Bankruptcy Rule 9019(a).

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                                        1                                                      III.
                                        2                                         FACTUAL BACKGROUND
                                        3   A.      General Background
                                        4           5.         On June 11, 2020 (the “Petition Date”), the Debtors filed their voluntary petitions
                                        5   for relief under chapter 11 of the Bankruptcy Code, thereby initiating the Bankruptcy Case.
                                        6           6.         The Debtors are continuing in possession of their property and are operating and
                                        7   managing their business, as debtors in possession, pursuant to Bankruptcy Code sections 1107(a)
                                        8   and 1108. See generally Chapter 11 Case Docket.
                                        9           7.         On June 23, 2020, this Court entered its Order directing the joint administration of

                                       10   the above-captioned Bankruptcy Case. See Dkt. No. 94, Case No. bk-s-20-12814-mkn.

                                       11           8.         The factual background relating to the Debtors’ commencement of the Bankruptcy
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                                       12   Case is set forth in detail in the Omnibus Declaration of Jeffrey Perea in Support of First Day
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                                       13   Motions [Dkt. 20, Case no. BK-S-20-12814-mkn], which is incorporated herein by reference in its

                                       14   entirety.

                                       15   B.      The ACF Secured Claim

                                       16           9.         Certain of those Debtors comprised of PDI, Solar 4, PD Texas, PD Solar, Sonoma,

                                       17   Red Rose, PD Roofing, Tri-Valley, California Equipment, Fences 4, Roofs 4 and PD Hawaii are

                                       18   borrowers (the “Borrowing Debtors”) under that certain secured revolving credit facility from
                                       19   ACF up to an aggregate principal amount of Thirty-Five Million Dollars ($35,000,0000) (the
                                       20   “Loan”) pursuant to that certain Loan and Security Agreement dated June 29, 2017, and all
                                       21   amendments, restatements, supplements and other modifications thereto (the “Loan Agreement”;
                                       22   all capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in
                                       23   the Loan Agreement). See Perea Declaration, ¶ 4 & Exhibit 1.
                                       24           10.        The Loan Agreement, among other things, granted ACF a security interest in all of

                                       25   Borrowing Debtors’ personal property in order to secure Borrowing Debtors’ obligations under the

                                       26   Loan Agreement (the “Collateral”), including, but not limited to: all cash, Money (as defined in

                                       27   Section 1-201(24) of the UCC), Accessions, Accounts (including without limitation all Receivables

                                       28   and unearned premiums with respect to insurance policies insuring any of the Collateral and claims

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                                        1   against any Person for loss of, damage to, or destruction of any or all of the Collateral), Certificates
                                        2   of Title, Chattel Paper, Commercial Tort Claims, Deposit Accounts, Documents, Equipment,
                                        3   General    Intangibles,     Goods,   Health-Care-Insurance   Receivables,    Instruments,    Inventory,
                                        4   Investment Property, Letter-Of-Credit Rights, Proceeds, Records, Software and Supporting
                                        5   Obligations, and all rights to payment for money or funds advanced or sold. See Perea Declaration,
                                        6   ¶ 5 & Exhibit 1.
                                        7           11.        ACF contends that the Borrowing Debtors’ obligations to ACF are further secured
                                        8   by that certain Collection Account Agreement, dated June 16, 2017, entered into between
                                        9   Borrowing Debtors, ACF and Wells Fargo Bank, National Association (the “Bank”), pursuant to
                                       10   which Borrowing Debtors granted ACF control over all of Borrowing Debtors’ deposit accounts
                                       11   held at the Bank. See Perea Declaration, ¶ 6 & Exhibit 1.
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                                       12           12.        ACF contends that as a result of a covenant violation arising from a loan to James
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                                       13   P. Petersen (“J. Petersen”), the founder of PDI, and in exchange for an interest rate reduction in

                                       14   the Loan and an extension of the Revolving Credit Termination Date under the Loan

                                       15   Agreement, and certain other covenant relief, J. Petersen executed that certain Amended and

                                       16   Restated Continuing Guaranty dated June 22, 2018 (together with all amendments, restatements,

                                       17   supplements and other modifications thereto, the “Petersen Guaranty”), whereby J. Petersen

                                       18   agreed to guarantee the Borrowing Debtors’ obligations under the Loan, the Loan Agreement and
                                       19   all other agreements entered into in connection with the Loan by Borrowing Debtors, as amended,
                                       20   restated, supplemented or otherwise modified from time to time (the “Loan Documents”),
                                       21   including without limitation, all promissory notes and security agreements (the “Petersen
                                       22   Guaranteed Obligations”). See Perea Declaration, ¶ 7 & Exhibit 1.
                                       23           13.        ACF contends that in exchange for accommodations by ACF to the Borrowing
                                       24   Debtors, TD Venture executed that certain Continuing Guaranty (Secured by Deed of Trust) dated

                                       25   November 15, 2018 (together with all amendments, restatements, supplements and other

                                       26   modifications thereto, the “TD Venture Guaranty” and, together with the Petersen Guaranty, the

                                       27   “Guaranties”), whereby TD Venture agreed to guarantee the Borrowing Debtors’ obligations under

                                       28   the Loan, the Loan Agreement and all other Loan Documents (the “TD Venture Guaranteed

                                                                                                6
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                                        1   Obligations” and, together with the Petersen Guaranteed Obligations, the “Guaranteed
                                        2   Obligations”). See Perea Declaration, ¶ 8 & Exhibit 1.
                                        3           14.        TD Venture is an affiliate of the other Debtors, however, TD Venture has no
                                        4   employees, nor does it install any roofing/solar projects. See Perea Declaration, ¶ 9 & Exhibit 1.
                                        5           15.        The obligations under the Petersen Guaranty are secured by (i) that certain Deed of
                                        6   Trust, Assignment of Rents, Security Agreement and Fixture Filing, dated November 15, 2018,
                                        7   granted by J. Petersen and Tricia Yeh Petersen (“T. Petersen” and, together with J. Petersen, the
                                        8   “Trustors”) in favor of Lender (the “Truckee Deed of Trust”), encumbering that certain property
                                        9   located in the County of Placer, State of California, more particularly described in the Truckee Deed
                                       10   of Trust (the “Truckee Property”), and (ii) that certain Deed of Trust, Assignment of Rents,
                                       11   Security Agreement and Fixture Filing, dated November 15, 2018, granted by the Trustors in favor
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                                       12   of Lender (the “Aptos Deed of Trust”), encumbering that certain property located in the County of
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                                       13   Santa Cruz, State of California, more particularly described in the Aptos Deed of Trust (the “Aptos
                                       14   Property” and, together with the Truckee Property, the “Trustors’ Properties”).            See Perea
                                       15   Declaration, ¶ 10 & Exhibit 1.

                                       16           16.        The obligations under the TD Venture Guaranty are secured by that certain

                                       17   Mortgage, Assignment of Rents, Security Agreement and Fixture Filing, dated November 15, 2018,

                                       18   granted by TD Venture in favor of Lender (the “Hawaii Mortgage”), encumbering that certain
                                       19   property located in the County of Maui, State of Hawaii, more particularly described in the Hawaii
                                       20   Mortgage (the “Hawaii Property” and, together with the Trustors’ Properties, collectively the
                                       21   “Properties”). See Perea Declaration, ¶ 11 & Exhibit 1.
                                       22           17.        TD Venture also owns an unencumbered membership interest in the Calistoga Ranch
                                       23   Club, a California Nonprofit Mutual Benefit Corporation, specifically identified as being
                                       24   Membership No. 035 (the “Membership Interest”). See Perea Declaration, ¶ 12 & Exhibit 1.

                                       25           18.        The Loan is currently in default under the Loan Documents. The various defaults

                                       26   alleged by the Lender, as well as various allegations of improprieties that they have made against J.

                                       27   Petersen, are set forth in detail in the Declaration of Andres Pinter [Dkt. 45, Case no. BK-S-20-

                                       28   12814-mkn]. The Lender has also opposed the Debtors’ use of cash collateral on a final basis

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                                        1   pursuant to that certain Secured Creditor ACF Finco I, LP’s Opposition to Final Order on
                                        2   Emergency First Day Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 361, 362, 363
                                        3   and 552 and Fed. R. Bankr. P. 4001(b) and 4001(d): (I) Determining Extent of Cash Collateral; (II)
                                        4   Authorizing Borrowing Debtors to Use Cash Collateral and Provide Adequate Protection; (III)
                                        5   Granting Related Relief; and (IV) Scheduling Final Hearing [Dkt. 440, Case no. BK-S-20-12814-
                                        6   mkn]. See Perea Declaration, ¶ 13 & Exhibit 1.
                                        7           19.        On July 31, 2010, the Bankruptcy Court entered its Final Order (I) Authorizing the
                                        8   Use of Cash Collateral Pursuant to Section 363 of the Bankruptcy Code, (II) Granting Adequate
                                        9   Protection Pursuant to Sections 361, 362, and 363 of the Bankruptcy Code, (III) Granting Liens
                                       10   and Superpriority Claims, and (IV) Modifying the Automatic Stay, And (V) Scheduling a Final
                                       11   Hearing [Dkt. 601, Case no. BK-S-20-12814-mkn] (the “Cash Collateral Order”). See Perea
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                                       12   Declaration, ¶ 14 & Exhibit 1.
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                                       13           20.        As of the Petition Date, ACF was owed approximately Twenty-Eight Million Five

                                       14   Hundred Forty-Three Thousand Eight Hundred Fifty-Four Dollars ($28,543,854) plus professional

                                       15   fees and costs (the “ACF Secured Claim”), which sum is secured by a valid, perfected and

                                       16   enforceable first priority security interest in the Collateral. See Perea Declaration, ¶ 15 &

                                       17   Exhibit 1.

                                       18   C.      The TD Venture 9019 Motion
                                       19           21.        After considerable negotiations, Trustors, TD Venture and ACF (collectively, the
                                       20   “Settling Parties”) determined that it is in their best interests to settle all of their respective disputes
                                       21   and controversies, including all of the Guaranteed Obligations and cash collateral disputes, and the
                                       22   Settling Parties executed that certain Settlement Agreement and Release of All Claims (the “TD
                                       23   Venture Settlement Agreement”), which subject to the Bankruptcy Court’s approval with respect
                                       24   to TD Venture, resolves all disputes between the Settling Parties, including the Guaranteed

                                       25   Obligations. See Perea Declaration, ¶ 16 & Exhibit 1.

                                       26           22.        On August 19, 2020, the Debtors filed that certain Debtors’ Motion for Approval of

                                       27   Compromise, Pursuant to Fed. R. Bankrk. P. 9019, by and among TD Venture Fund, LLC, James P.

                                       28   Petersen, Tricia Yeh Petersen and ACF Finco I, LP [Dkt. 739, Case no. BK-S-20-12814-mkn] (the

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                                        1   “TD Venture 9019 Motion”). See Perea Declaration, ¶ 17 & Exhibit 1.
                                        2           23.        On August 26, 2020, the Committee was appointed in the TD Venture chapter 11
                                        3   case pursuant to that certain Amended Notice of the Official Committee of Unsecured Creditors
                                        4   for the Estates of all Captioned Debtors [Dkt. 811, Case no. BK-S-20-12814-mkn]. See Perea
                                        5   Declaration, ¶ 18 & Exhibit 1.
                                        6           24.        The Committee has objected to the TD Venture 9019 Motion filing that certain
                                        7   Objection of Official Committee of Unsecured Creditors to Debtors’ Motion for Approval of
                                        8   Compromise, Pursuant to Fed. R. Bankrk. P. 9019, by and among TD Venture Fund, LLC, James
                                        9   P. Petersen, Tricia Yeh Petersen and ACF Finco I, LP on September 9, 2020 [Dkt. 954, Case no.
                                       10   BK-S-20-12814-mkn] (the “Committee Objection”). See Perea Declaration, ¶ 19 & Exhibit 1.
                                       11           25.        There is extensive discovery scheduled in connection with the TD Venture 9109
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                                       12   Motion and Committee Objection. See Scheduling Order re: Hearing on [TD Venture 9019
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                                       13   Motion] [Dkt. 1081, Case no. BK-S-20-12814-mkn], and Order Approving Stipulation to

                                       14   (A) Modify Discovery Deadlines for Scheduling Order Re: Hearing on [TD Venture 9019

                                       15   Motion] and (B) Extend the Deadline to Object to the Debtors’ Bid Procedures [Dkt. 1211,

                                       16   Case no. BK-S-20-12814-mkn] (collectively, the “Scheduled Discovery”).                   See Perea

                                       17   Declaration, ¶ 20.

                                       18   D.      The 363 Sale
                                       19           26.        The Debtors have continued to engage in extensive marketing efforts for the sale
                                       20   of substantially all of the Debtors’ assets. See Perea Declaration, ¶ 21 & Exhibit 1.
                                       21           27.        On October 12, 2020, the Debtors and ACF entered into a non-binding Letter of
                                       22   Intent (the “Letter of Intent”) for ACF to purchase substantially all of the assets of Debtors
                                       23   (the “Assets”), except those certain assets of Debtors specifically identified as, and agreed by the
                                       24   parties to be, excluded assets in a definitive asset purchase agreement containing terms and

                                       25   conditions satisfactory to the Debtors and ACF (the “Stalking Horse Agreement”), under Section

                                       26   363 of the Bankruptcy Code, free and clear of any interest in such property other than the DIP

                                       27   Factoring and DIP Liens, as such terms are defined in the Letter of Intent (the “363 Sale”). Without

                                       28   limiting the foregoing, the Assets being sold pursuant to the 363 Sale shall include, without

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                                        1   limitation, all Debtors’ bankruptcy estates’ claims and causes of action under Chapter 5 of the
                                        2   Bankruptcy Code (e.g., preference, fraudulent conveyance and avoidance actions and claims), and
                                        3   all other claims and causes of action that constitute property of the Debtors’ bankruptcy estates
                                        4   under Section 541 of the Bankruptcy Code, and/or any other applicable federal or state law, and all
                                        5   proceeds and rights to proceeds therefrom (collectively, the “Chapter 5 Claims”). See Perea
                                        6   Declaration, ¶ 22 & Exhibit 1.
                                        7           28.        On October 19, 2020, the Debtors filed their Motion for Order Pursuant to Sections
                                        8   105(A), 363, 365, 503 and 507 of the Bankruptcy Code and Rules 2002, 6004, 6006, 9007, 9008
                                        9   and 9014 of the Federal Rules of Bankruptcy Procedure Approving and Authorizing: (A) Bidding
                                       10   Procedures in Connection with the Sale of Substantially all of the Debtors’ Assets to the Stalking
                                       11   Horse Bidder; (B) Form and Manner of Notice of the Sale Hearing; (C) Sale of Substantially all of
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                                       12   the Debtors’ Assets Free and Clear of Liens Claims, Encumbrances, and Other Interests, Except the
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                                       13   DIP Factoring and as Provided in the Stalking Horse Agreement; (D) Purchase Agreement
                                       14   Relating Thereto; (E) Assumption and Assignment of Certain of the Debtors’ Executory Contracts
                                       15   and Unexpired Leases Related Thereto; and (F) Related Relief [Dkt. 1172, Case no. BK-S-20-
                                       16   12814-mkn] (the “Bidding Procedures Motion”). A copy of the Letter of Intent is annexed as
                                       17   Exhibit G to the Bidding Procedures Motion. See Perea Declaration, ¶ 23.

                                       18           29.        The Debtors have a limited liquidity window within which to continue to market
                                       19   and sell their assets as a going concern, and the terms for the Stalking Horse Agreement require
                                       20   the Debtors to maintain their business as a going concern through the date of closing of the
                                       21   proposed 363 Sale of the Assets. See Perea Declaration, ¶ 24 & Exhibit 1.
                                       22           30.        The Debtors’ business and financial position has substantially deteriorated during
                                       23   the pendency of the Bankruptcy Case and given the exigent circumstances surrounding the
                                       24   Debtors, the Parties are extremely concerned that the Debtors will be required to liquidate

                                       25   through chapter 7 proceedings which will not maximize value for creditors if an auction is not

                                       26   conducted immediately for a 363 Sale of the Debtors’ Assets in accordance with the timeline set

                                       27   forth in the Letter of Intent. See Perea Declaration, ¶ 25 & Exhibit 1.

                                       28

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                                        1   E.      The Settlement Agreement
                                        2           31.        After significant negotiations among the Debtors, the Committee and ACF, the
                                        3   Parties have determined it is in their collective best interests to come to an agreement with
                                        4   respect to the treatment of the ACF Secured Claim, the Unsecured Creditors Claims and the
                                        5   various disputes among the Parties in the Bankruptcy Case, including without limitation, with
                                        6   respect to the TD Venture 9019 Motion and the Committee Objection, and each of the Parties
                                        7   now desire to resolve any and all such disputes and have agreed upon treatment of their
                                        8   respective claims, pursuant to the terms and conditions set forth in the Settlement Agreement.
                                        9   See Perea Declaration, ¶ 26 & Exhibit 1.
                                       10           32.        As part of the negotiations among the Parties, the Committee has further

                                       11   determined it is in the unsecured creditors’ best interests to support the 363 Sale of the Assets
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                                       12   pursuant to the Stalking Horse Agreement, pursuant to the terms and conditions set forth in the
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                                       13   Settlement Agreement. See Perea Declaration, ¶ 27 & Exhibit 1.

                                       14                                                        IV.

                                       15                                         THE SETTLEMENT TERMS

                                       16           33.        The Settlement Agreement sets forth the following material terms: 4

                                       17                      a. Support of 363 Sale. The Committee and the Debtors shall support ACF’s credit
                                       18                         bid right to purchase the Assets by way of the 363 Sale, on the terms and conditions
                                                                  contemplated under the Letter of Intent and, the Stalking Horse Agreement, once
                                       19                         executed and approved by the Bankruptcy Court pursuant to the Sale Order, as
                                                                  defined in the Letter of Intent. The Committee agrees to affirmatively support the
                                       20                         sale of the Assets by way of the 363 Sale, and shall not object to ACF’s credit bid
                                                                  right, as more specifically set forth in the Letter of Intent, nor to an accelerated
                                       21                         timeline to conduct the auction for the 363 Sale. Without limiting the foregoing, the
                                       22                         Committee agrees to affirmatively support the sale motion and the motion for the
                                                                  Bid Procedures Order, as defined below, and shall not file an objection to, the
                                       23                         auction process under the 363 Sale, ACF’s credit bid under the Stalking Horse
                                                                  Agreement, ACF’s right to overbid as provided in the Bid Procedures Order, and
                                       24                         the Assets subject to the 363 Sale as more particularly set forth below. The
                                                                  Committee reserves the right to object to any irregularities in the operation of the
                                       25
                                                                  auction if the same is not conducted in accordance with the Bid Procedures Order.
                                       26
                                       27
                                                    4
                                                     This summary is qualified by the more specific terms of the Settlement Agreement. To the
                                       28   extent of any discrepancy, the Settlement Agreement controls.

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                                                                 i. Assets.
                                        1
                                                                        1. It is acknowledged and agreed by the Parties that the Assets to
                                        2
                                                                           be purchased shall exclude those certain assets of Debtors
                                        3                                  specifically identified as, and agreed by ACF and the Debtors,
                                                                           to be excluded assets in the Stalking Horse Agreement;
                                        4                                  provided, however, it is agreed that the consumer solar
                                                                           business of the Debtors, together with the accounts receivable
                                        5                                  for such consumer solar business (the “Consumer Business
                                        6                                  Assets”) shall be excluded from the 363 Sale.

                                        7                               2. The Assets being purchased by ACF, or its permitted assignee,
                                                                           under the Stalking Horse Agreement shall include the Chapter
                                        8                                  5 Claims.

                                        9                               3. An independent sale process for the Consumer Business
                                                                           Assets may be conducted by the Debtors and/or the
                                       10                                  Committee along with the 363 Sale, at their discretion and
                                       11                                  their own expense.
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                                                                 ii. Terms of ACF’s Credit Bid/Stalking Horse Agreement.
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                                       13                               1. It is acknowledged and agreed by the Parties that the Stalking
                                                                           Horse will contain a due diligence period of thirty (30) days,
                                       14                                  with a unilateral right to extend such due Agreement diligence
                                                                           period by ACF for an additional ten (10) day period (“Due
                                       15                                  Diligence Period”). ACF shall have the right to terminate the
                                       16                                  Stalking Horse Agreement any time prior to the expiration of
                                                                           the Due Diligence Period, provided, however, ACF agrees that
                                       17                                  its right to terminate shall be exercised, if at all, at least three
                                                                           (3) business days prior to the sale bid deadline set forth in the
                                       18                                  Bid Procedures Order.
                                       19                               2. It is acknowledged and agreed by the Parties that a condition to
                                       20                                  ACF’s purchase of the Assets under the Stalking Horse
                                                                           Agreement shall be an agreement by the DIP Factor to continue
                                       21                                  the financing being provided under the DIP Factoring to ACF
                                                                           for a period of one (1) year after the closing of the purchase of
                                       22                                  the Assets by ACF, or its assignee, as more particularly set forth
                                                                           in the Letter of Intent. For purposes of the Settlement
                                       23                                  Agreement, the consummation of the purchase of the Assets
                                       24                                  pursuant to the Stalking Horse Agreement under the 363 Sale by
                                                                           ACF, or its assignee, may be referred to as the “ACF 363 Sale
                                       25                                  Transaction.”

                                       26                               3. ACF’s minimum credit bid shall be equal to Ten Million
                                                                           ($10,000,000) of its outstanding Loan to Debtors and shall
                                       27                                  include a Two Hundred Fifty Thousand Dollars ($250,000) cash
                                                                           component.
                                       28

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                                                                      4. For purposes of ACF’s credit bid, the Hawaii property will have
                                        1                                an estimated value equal to the averages of the brokers’ opinions
                                        2                                of value obtained by the Committee and ACF, subject to an
                                                                         offset in the amount of ACF’s payments of debt service on the
                                        3                                senior loan on the Hawaii Property plus the amount of the
                                                                         estimated carry costs of the Hawaii Property, which carry costs
                                        4                                shall include payment of the debt service on the senior loan on
                                                                         the Hawaii Property, costs and expenses for security and
                                        5
                                                                         maintenance, costs and expenses for the liquidation of the
                                        6                                Hawaii Property, but shall be subject to any adjustment for any
                                                                         rental income actually received by ACF from the Hawaii
                                        7                                Property.

                                        8                             5. The Assets being purchased at the 363 Sale shall be sold free
                                                                         and clear of any interest in such property other than the DIP
                                        9                                Factoring and DIP Liens, and the sale order to be sought by
                                       10                                Debtors approving the 363 Sale shall have been entered by the
                                                                         Bankruptcy Court in a form reasonably acceptable to ACF, or its
                                       11                                permitted assignee (the “Purchaser”), and Debtors, and shall
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                                                                         include a finding that the Purchaser is a good faith purchaser
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                                       12                                under Section 363 of the Bankruptcy Code.
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                                       13                             6. ACF shall be entitled to the following bid protections, to be
                                                                         contained in the proposed bid procedure order (the “Bid
                                       14
                                                                         Procedures Order”): (i) the bid procedures to be employed and
                                       15                                contained in the Bid Procedures Order for any possible overbid
                                                                         shall be standard and customary and shall be acceptable to the
                                       16                                Purchaser, and the DIP Factor, as defined in the Letter of Intent,
                                                                         (ii) the Bid Procedures Order shall allow Purchaser a reasonable
                                       17                                opportunity to further bid up to a maximum credit bid amount of
                                       18                                Fifteen Million Dollars ($15,000,000.00) of Purchaser’s
                                                                         outstanding Loan to Debtors with respect to any competing
                                       19                                overbid, provided that in any given instance of an overbid by
                                                                         Purchaser, Purchaser shall not lose any of the bid protections set
                                       20                                forth in the Bid Procedures Order, (iii) there can be no
                                                                         assurances that the DIP Factor will consent to the assumption of
                                       21                                the DIP Factoring or provide further financing under the DIP
                                       22                                Factoring to any other bidder, and (iv) unless otherwise
                                                                         specifically agreed to by Purchaser, Debtors may not accept any
                                       23                                competing bid for the Assets unless such competing bid (A) is
                                                                         made in compliance with the Bid Procedures Order, (B) includes
                                       24                                a deposit equal to an amount of not less than ten percent (10%)
                                                                         of the purchase price in the bid, and (C) exceeds the amount of
                                       25                                the purchase price being paid under the Stalking Horse
                                       26                                Agreement by at least One Hundred Thousand Dollars
                                                                         ($100,000.00), and is no less favorable than the Stalking Horse
                                       27                                Agreement. The Bid Procedures Order shall further provide that
                                                                         subsequent overbids may only be in increments of Fifty
                                       28                                Thousand Dollars ($50,000.00).

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                                                                iii. Proceeds from Whitcomb Note.           In the event the ACF 363 Sale
                                        1                            Transaction occurs, any funds received by ACF upon payment of that
                                        2                            certain promissory note in the original principal amount of One
                                                                     Million Eight Hundred Thousand Dollars ($1,800,000), from James
                                        3                            Whitcomb and Haleakala Solar, Inc., a Hawaii corporation, as maker,
                                                                     to Debtors, as payee, associated with the sale of certain assets of PD
                                        4                            Hawaii under that certain Asset Purchase and Interim Management
                                                                     Agreement approved by the Bankruptcy Court on August 28, 2020 by
                                        5
                                                                     that certain Order Granting Motion of Debtor for Order Authorizing
                                        6                            the Sale of Substantially All of its Assets Free and Clear of All Liens,
                                                                     Claims and Encumbrances, and For Related Relief [Dkt. 954, Case
                                        7                            no. BK-S-20-12814-mkn], shall be allocated among ACF and the
                                                                     Debtors’ estates or their successors, in accordance with the following
                                        8                            waterfall and paid within five (5) business days of receipt of such
                                                                     funds by ACF:
                                        9
                                       10                               1. First, One Million Dollars ($1,000,000.00) to ACF;

                                       11                               2. The next Five Hundred Thousand Dollars ($500,000) shall be
                                                                           split 50/50, with fifty percent (50%) of the funds received being
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                                       12                                  paid to ACF or its assignee, and fifty percent (50%) of the funds
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                                                                           received being paid to the Debtors’ estates or their successors;
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                                       13                                  and
                                       14                               3. All remaining funds received over the amounts set forth in
                                       15                                  subsections (1) and (2) above, shall be paid to ACF.

                                       16                       iv. Payment of Professional Fees. In the event the ACF 363 Sale
                                                                    Transaction occurs, the Parties agree that allowed fees for the estate
                                       17                           professionals shall be paid pro rata from the Petition Date and from
                                                                    those certain assets identified on Exhibit “A” (the “Identified Assets”),
                                       18                           and otherwise such fees shall be paid from the assets and proceeds
                                       19                           remaining with the Debtors’ estates or their successors after the ACF
                                                                    363 Sale Transaction. All fees for the above-mentioned professionals
                                       20                           that are payable pursuant to sections 330 or 331 of the Bankruptcy Code
                                                                    or pursuant to the Order Authorizing Debtors’ Motion Pursuant to 11
                                       21                           U.S.C. §§ 105(a) and 331, and Fed. R. Bankr. P. 2016, Authorizing and
                                                                    Establishing Procedures for Interim Compensation and Reimbursement
                                       22                           of Expenses of Professionals [ECF 660] (the “Interim Compensation
                                       23                           Order”) shall be paid pro rata from the Petition Date after entry of the
                                                                    Final Settlement and Sale Support Order at such time as estate funds
                                       24                           from the Identified Assets become available in accordance with the
                                                                    Stipulated Cash Collateral Budget, as defined below.
                                       25
                                                                 v. Stipulated Cash Collateral Budget. The Parties acknowledge and agree
                                       26                           that the Approved Budget attached as Exhibit 1 to the Cash Collateral
                                                                    Order is hereby replaced by that certain budget attached to the
                                       27
                                                                    Settlement Agreement as Exhibit “B” (the “Stipulated Cash Collateral
                                       28                           Budget”). From and after entry of the Final Settlement and Sale

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                                                                              Support Order, any reference to the Approved Budget under the Cash
                                        1                                     Collateral Order in the Bankruptcy Case shall refer to the Stipulated
                                        2                                     Cash Collateral Budget.

                                        3                                vi. Waiver of Carve-Out. It is further acknowledged and agreed by the
                                                                             Parties that in consideration for the payment of professional fees as set
                                        4                                    forth in Section (a)(iv) above, that the professionals retained by the
                                                                             Debtors and the Committee hereby waive any right to payment pursuant
                                        5                                    to the Carve-Out in the amount not to exceed Three Hundred Thousand
                                        6                                    Dollars ($300,000), as such term is defined in Section 26 of the Cash
                                                                             Collateral Order. Without limiting the foregoing, upon entry of the
                                        7                                    Final Settlement and Sale Support Order, the Parties agree that the Pre-
                                                                             Petition Collateral, as defined in the Cash Collateral Order, shall not be
                                        8                                    subject to the Carve-Out defined therein.
                                        9                      b. Foreclosure. In the event ACF exercises its right to terminate the Stalking Horse
                                                                  Agreement, the Committee and Debtors, on behalf of themselves and the
                                       10
                                                                  Debtors’ estates, agree that ACF shall have the right, at ACF’s option, to either
                                       11                         foreclose on its Collateral, or upon ACF’s written request, to have the Collateral,
                                                                  inclusive of the Chapter 5 Claims and commercial tort claims, deeded and
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                                       12                         transferred to ACF, or its assignee (the “Foreclosure”). The Committee and the
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                                                                  Debtors, on behalf of themselves and the Debtors’ bankruptcy estates, agree that
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                                       13                         the automatic stay, to the extent relief from the stay has not otherwise been
                                                                  granted to ACF under the Cash Collateral Order, is terminated with respect to
                                       14
                                                                  ACF as to the Collateral and the Hawaii Property without the need for any
                                       15                         further Bankruptcy Court orders. Notwithstanding the foregoing, ACF may seek
                                                                  comfort orders from the Bankruptcy Court, and the Committee and the Debtors
                                       16                         shall not file any objections to such relief provided it complies with the terms of
                                                                  the Settlement Agreement. Notwithstanding the foregoing, ACF agrees that the
                                       17                         Collateral to be foreclosed upon, or transferred to ACF, shall exclude the
                                                                  Consumer Business Assets. Any Foreclosure would include a foreclosure or
                                       18
                                                                  transfer of the Chapter 5 Claims and commercial tort claims to ACF; provided,
                                       19                         however, any and all claims that the Debtors’ estates may have against Trustors
                                                                  individually (the “Petersen Claims”) shall not be part of the Collateral to be
                                       20                         foreclosed upon, or transferred to ACF, as part of the Foreclosure.
                                       21                                 i. Payment of Professional Fees. In the event the Foreclosure occurs, the
                                                                             Parties agree that allowed fees for the estate professionals shall be paid
                                       22
                                                                             pro rata from the Petition Date and from the Identified Assets, and
                                       23                                    otherwise such fees shall be paid from the assets and proceeds
                                                                             remaining with the Debtors’ estates or their successors after the
                                       24                                    Foreclosure. All fees for the above-mentioned professionals that are
                                                                             payable pursuant to sections 330 or 331 of the Bankruptcy Code or
                                       25                                    pursuant to the Interim Compensation Order shall be paid pro rata from
                                                                             the Petition Date after entry of the Final Settlement and Sale Support
                                       26
                                                                             Order at such time as estate funds from the Identified Assets become
                                       27                                    available in accordance with the Stipulated Cash Collateral Budget.

                                       28                                 ii. Waiver of Carve-Out. It is further acknowledged and agreed by the

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                                                                            Parties that in consideration for the payment of professional fees as set
                                        1                                   forth in Section (b)(i) above, that the professionals retained by the
                                        2                                   Debtors and the Committee hereby waive any right to payment pursuant
                                                                            to the Carve-Out in the amount not to exceed Three Hundred Thousand
                                        3                                   Dollars ($300,000), as provided in, and as such term is defined in,
                                                                            Section 26 of the Cash Collateral Order. Without limiting the
                                        4                                   foregoing, upon entry of the Final Settlement and Sale Support Order,
                                                                            the Parties agree that the Pre-Petition Collateral, as defined in the Cash
                                        5                                   Collateral Order, shall not be subject to the Carve-Out defined therein.
                                        6
                                                               c. Chapter 5 Claims.
                                        7
                                                                         i. The Assets being purchased by Purchaser shall include the Chapter 5
                                        8                                   Claims, which are inclusive of Debtors’ commercial tort claims. The
                                                                            Parties agree that ACF shall have the right to commence and prosecute
                                        9                                   the Chapter 5 Claims and relief associated therewith in Debtors’
                                       10                                   Bankruptcy Cases, and the Final Settlement and Sale Support Order
                                                                            shall expressly preserve this right.
                                       11
                                                                         ii. In the event of an ACF 363 Sale Transaction, any proceeds received
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                                       12                                    by ACF or its assignee on the recovery of any of the Chapter 5 Claims
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                                                                             shall be allocated among the ACF or its assignee, and the Committee,
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                                       13                                    in accordance with the following waterfall:
                                       14
                                                                                1. First, to the payment of all fees, costs and expenses incurred
                                       15                                          by or on behalf of ACF or its assignee for enforcement and
                                                                                   collection of the Chapter 5 Claims;
                                       16
                                                                                2. Second, Two Hundred Fifty Thousand Dollars ($250,000)
                                       17                                          shall be repaid to ACF or its assignee to repay the Liquidation
                                                                                   Trust Seed Loan, as defined below, to the extent such
                                       18
                                                                                   Liquidation Trust Seed Loan has not already been repaid from
                                       19                                          other sources of recovery as identified in the Settlement
                                                                                   Agreement;
                                       20
                                                                                3. Third, One Million Five Hundred Thousand Dollars
                                       21                                          ($1,500,000) recovered shall be paid to ACF or its assignee;
                                                                                   and
                                       22
                                       23                                       4. Fourth, all remaining recoveries over the amounts set forth in
                                                                                   subsections (1), (2) and (3) above, shall be split 50/50, with
                                       24                                          fifty percent (50%) of the recovered amounts being paid to
                                                                                   ACF or its assignee, and fifty percent (50%) of the recovered
                                       25                                          amounts being paid to the Debtors’ estates or their successors.
                                       26                               iii. In the event of a Foreclosure and subsequent acquisition by ACF as a
                                       27                                    part of such Foreclosure of the Chapter 5 Claims, which are inclusive
                                                                             of Debtors’ commercial tort claims but exclusive of any Petersen
                                       28                                    Claims, any proceeds received by ACF or its assignee on the recovery

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                                                                            of any of the Chapter 5 Claims shall be allocated among the ACF or
                                        1                                   its assignee, and the Committee, in accordance with the following
                                        2                                   waterfall:

                                        3                                       1. First, to the payment of all fees, costs and expenses incurred
                                                                                   by or on behalf of ACF or its assignee for enforcement and
                                        4                                          collection of the Chapter 5 Claims;
                                        5                                       2. Second, Two Hundred Fifty Thousand Dollars ($250,000)
                                                                                   shall be repaid to ACF or its assignee to repay the Liquidation
                                        6
                                                                                   Trust Seed Loan, to the extent such Liquidation Trust Seed
                                        7                                          Loan has not already been repaid from other sources of
                                                                                   recovery as identified in the Settlement Agreement;
                                        8
                                                                                3. Third, the next Four Million Dollars ($4,000,000) of
                                        9                                          recoveries shall be split 90/10, with ninety percent (90%) of
                                                                                   the recovered amounts being paid to ACF or its assignee, and
                                       10
                                                                                   ten percent (10%) of the recovered amounts being paid to the
                                       11                                          Debtors’ estates or their successors; and
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                                       12                                       4. Fourth, all remaining recoveries over the amounts set forth in
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                                                                                   subsections (1), (2) and (3) above, shall be split 75/25, with
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                                       13                                          seventy-five percent (75%) of the recovered amounts being
                                                                                   paid to ACF or its assignee, and twenty-five percent (25%) of
                                       14
                                                                                   the recovered amounts being paid to the Debtors’ estates or
                                       15                                          their successors.

                                       16                                       5. All funds to be paid under this Section shall be paid within
                                                                                   five (5) business days of receipt of such funds by any Party.
                                       17
                                                               d. Support of TD Venture 9019 Motion; Hawaii Property.
                                       18
                                       19                                i. Immediately upon entry of a written order by the Bankruptcy Court
                                                                            approving the 9019 Settlement and Sale Support Motion, provided no
                                       20                                   objections were made to the 9019 Settlement and Sale Support
                                                                            Motion or all such oppositions are resolved and/or withdrawn at the
                                       21                                   hearing on the 9019 Settlement and Sale Support Motion, the
                                                                            Committee shall withdraw the Committee Objection and agree to
                                       22                                   affirmatively support the TD Venture 9019 Motion and transactions
                                       23                                   completed under the Settlement Agreement. In the event any
                                                                            oppositions made to the 9019 Settlement and Sale Support Motion
                                       24                                   were not so resolved or withdrawn prior to such entry of the written
                                                                            order by the Bankruptcy Court, then the Committee shall withdraw
                                       25                                   the Committee Objection and agree to affirmatively support the TD
                                                                            Venture 9019 Motion and transactions completed under the
                                       26
                                                                            Settlement Agreement, at such time as the written order by the
                                       27                                   Bankruptcy Court approving the 9019 Settlement and Sale Support
                                                                            Motion becomes a final, non-appealable order.
                                       28

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                                                                         ii. Upon approval by the Bankruptcy Court of the TD Venture 9019
                                        1                                    Motion, the Hawaii Property will be transferred to ACF or its
                                        2                                    assignee, as provided for under the Settlement Agreement. The net
                                                                             proceeds from the subsequent liquidation of the Hawaii Property by
                                        3                                    ACF or its assignee will be allocated as set forth in subsections (iii) or
                                                                             (iv) below, as applicable, after all transaction and closing fees and
                                        4                                    costs from the sale of the Hawaii Property are paid, including
                                                                             reimbursement and payment for the carry costs of the Hawaii Property,
                                        5
                                                                             which carry costs shall include reimbursement to ACF for payment of
                                        6                                    the debt service on the senior loan on the Hawaii Property and costs and
                                                                             expenses for security and maintenance, but shall be subject to any
                                        7                                    adjustment for any rental income actually received by ACF from the
                                                                             Hawaii Property (the “Hawaii Property Net Proceeds”).
                                        8
                                                                        iii. In the event the ACF 363 Sale Transaction occurs, the Hawaii
                                        9
                                                                             Property Net Proceeds shall be allocated among ACF, or its assignee,
                                       10                                    and the Committee, in accordance with the following waterfall:

                                       11                                        1. The first Four Million Dollars ($4,000,000) to ACF, or its
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                                                                                    assignee;
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                                                                                 2. The next Five Hundred Thousand Dollars ($500,000) shall be
                                       13                                           split 50/50, with fifty percent (50%) of the amount being paid
                                       14                                           to ACF or its assignee, and fifty percent (50%) of the amount
                                                                                    being paid to the Debtors’ estates or their successors; and
                                       15
                                                                                 3. All remaining Hawaii Property Net Proceeds over the amounts
                                       16                                           set forth in subsections (1) and (2) above, shall be paid to
                                                                                    ACF, or its assignee.
                                       17
                                       18                                iv. In the event the Foreclosure occurs, the Hawaii Property Net Proceeds
                                                                             shall be allocated among ACF, or its assignee, and the Committee, in
                                       19                                    accordance with the following waterfall:

                                       20                                        1. The first Three Million Five Hundred Thousand Dollars
                                                                                    ($3,500,000) to ACF, or its assignee; and
                                       21
                                                                                 2. All remaining Hawaii Property Net Proceeds shall be split
                                       22
                                                                                    50/50, with fifty percent (50%) of the amount being paid to
                                       23                                           ACF or its assignee, and fifty percent (50%) of the amount
                                                                                    being paid to the Debtors’ estates or their successors.
                                       24
                                                                         v. All funds to be paid under this Section shall be paid within five (5)
                                       25                                   business days of receipt of such funds by any Party.
                                       26                      e. Liquidating Trust.
                                       27                                 i. Upon entry of the Final Settlement and Sale Support Order by the
                                       28                                    Bankruptcy Court, Debtors shall prepare a liquidating plan of

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                                                                    reorganization and disclosure statement, in form and substance
                                        1                           satisfactory to the Debtors, the Committee and ACF, in their
                                        2                           reasonable discretion (the “Plan”), which Plan shall ratify 9019
                                                                    Settlement and Sale Support Order, as defined below. The Plan shall
                                        3                           establish a liquidating trust (the “Liquidating Trust”) pursuant to a
                                                                    liquidating trust agreement in form and substance satisfactory to the
                                        4                           Debtors, the Committee and ACF, in their reasonable discretion. The
                                                                    Plan will provide that any assets remaining in the Debtors’ estates
                                        5
                                                                    after the ACF 363 Transaction as of the time the Plan goes effective
                                        6                           will be transferred to the Liquidating Trust. The Liquidating Trust
                                                                    shall serve as the successor to the Debtors’ estates. Provided the Plan
                                        7                           proponent complies with Sections 1125 and 1126 of the Bankruptcy
                                                                    Code and so long as the Plan maintains the Release of Claims and is
                                        8                           otherwise in compliance with the Settlement Agreement, ACF agrees
                                        9                           to support the prosecution and vote in favor of the Plan.

                                       10                       ii. Upon establishment of the Liquidating Trust pursuant to an approved
                                                                    Bankruptcy Court order, ACF shall loan the Liquidating Trust Two
                                       11                           Hundred Fifty Thousand Dollars ($250,000) in order to initially fund
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                                                                    the Liquidating Trust (the “Liquidating Trust Seed Loan”), which
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                                                                    shall be repaid only from the sources of recovery set forth in Sections
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                                       13                           (c)(2) & (c)(3) above.

                                       14                       iii. The amount of ACF’s Secured Claim that does not become part of the
                                                                     ACF credit bid or the amount determined satisfied for purposes of the
                                       15                            Foreclosure, as more particularly set forth in the Settlement
                                                                     Agreement, shall be treated as an unsecured claim in the Bankruptcy
                                       16                            Case (the “ACF Unsecured Claim”). The ACF Unsecured Claim
                                       17                            shall be offset by the Hawaii Property Net Proceeds allocated to ACF
                                                                     pursuant to Section (d) above.
                                       18
                                                                iv. In the event of an ACF 363 Sale Transaction, the following provisions
                                       19                           shall apply:
                                       20                               1. ACF agrees to subordinate the ACF Unsecured Claim to all
                                       21                                  other allowed general unsecured claims in the Bankruptcy
                                                                           Case, except to the extent of any agreed payments of proceeds
                                       22                                  or recoveries specifically set forth in the Settlement
                                                                           Agreement and except as to any recovery under the Petersen
                                       23                                  Claims, which shall be split 50/50, with fifty percent (50%) of
                                                                           the amount being paid to ACF or its assignee, and fifty percent
                                       24
                                                                           (50%) of the amount being paid to the Debtors’ estates or,
                                       25                                  upon the confirmation of the Plan, the Liquidating Trust.

                                       26                               2. Without limiting the foregoing, in the event of an ACF 363
                                                                           Sale Transaction, ACF shall not participate in any recoveries
                                       27                                  received by, or distributions to be made from the Liquidating
                                                                           Trust, except to the extent of any agreed payments of proceeds
                                       28                                  or recoveries specifically set forth in the Settlement

                                                                                       19
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                                                                                     Agreement and except as to any recovery under the Petersen
                                        1                                            Claims, subject to any pro-rata distribution made to ACF on
                                        2                                            account of the ACF Unsecured Claim, to the extent any funds
                                                                                     are available for distribution to the ACF Unsecured Claim.
                                        3
                                                                                  3. Any additional amounts or recoveries received by the Debtors’
                                        4                                            estates or the Liquidating Trust from the Trustors shall be split
                                                                                     50/50, with fifty percent (50%) of the amount being paid to
                                        5                                            ACF or its assignee, and fifty percent (50%) of the amount
                                        6                                            being paid to the Debtors’ estates or, upon confirmation of the
                                                                                     Plan, the Liquidating Trust.
                                        7
                                                                          v. In the event of a Foreclosure, the following provisions shall apply:
                                        8
                                                                                  1. None of the proceeds received by the Debtors’ estates or the
                                        9                                            Liquidating Trust on the recovery of any of the Petersen
                                                                                     Claims shall be allocated to ACF, subject to any pro-rata
                                       10
                                                                                     distribution made to ACF on account of the ACF Unsecured
                                       11                                            Claim, to the extent any funds are available for distribution to
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                                                                                     the ACF Unsecured Claim.
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                                                                                  2. The Debtors or the Liquidating Trust (as applicable) and ACF
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                                       13                                            shall enter into a funding, prosecution and sharing agreement
                                                                                     with respect to the funding, control and allocation of
                                       14
                                                                                     recoveries of the claims to be held by the Debtors’ estates or
                                       15                                            the Liquidating Trust (as applicable), which include D&O
                                                                                     covered claims and the Petersen Claims, which agreement
                                       16                                            shall specifically provide that [ACF maintains control over the
                                                                                     commencement and prosecution of the Chapter 5 Claims, at
                                       17
                                                                                     ACF’s sole discretion] and shall allocate the split with respect
                                       18                                            to recoveries received by the Debtors’ estates or the
                                                                                     Liquidating Trust between the Debtors’ estates or the
                                       19                                            Liquidating Trust (as applicable) and ACF, and shall
                                                                                     otherwise be in form and substance acceptable to the Debtors
                                       20                                            and the Committee or, upon confirmation of the Plan, the
                                       21                                            Liquidating Trust and ACF, in their reasonable discretion.

                                       22                      f. Release of Claims. Effective immediately upon entry of the Final Settlement and
                                                                  Sale Support Order by the Bankruptcy Court, the Debtors and the Debtors’
                                       23                         bankruptcy estates, and all those claiming through them or on their behalf,
                                                                  including, but not limited to, trustees, officers, directors, owners, shareholders,
                                       24                         parents, subsidiaries, affiliates, members, partners, managers, employees,
                                                                  personal representatives, clients, attorneys, agents, spouses (current or former),
                                       25
                                                                  executors, successors, or assigns (the “Releasing Parties”), hereby release,
                                       26                         acquit, relieve and forever discharge ACF, and its trustees, officers, directors,
                                                                  owners, shareholders, parents, subsidiaries, affiliates, members, partners,
                                       27                         managers, employees, personal representatives, clients, attorneys, agents, spouses
                                                                  (current or former), executors, successors, or assigns (the “Released Parties”)
                                       28                         from, and covenant not to directly or indirectly sue for or otherwise assert against

                                                                                                 20
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                                                                  the Released Parties, in any forum, any and all claims, rights, actions,
                                        1                         complaints, demands, causes of action, obligations, promises, contracts,
                                        2                         covenants, agreements, controversies, suits, debts, expenses, damages, liens,
                                                                  attorneys’ fees, costs, losses, judgments, costs of litigation and suits, interests,
                                        3                         orders and/or liabilities of any nature whatsoever, whether arising at law or
                                                                  equity, whether or not now known, asserted or non-asserted, suspected or
                                        4                         unsuspected, pending or threatened, matured or unmatured, fixed or contingent
                                                                  (collectively, “Claims”), which the Releasing Parties had, now have, or may
                                        5
                                                                  claim to have against the Released Parties (either directly or indirectly), arising
                                        6                         out of, or related to Claims asserted or which could have been asserted with
                                                                  respect to such Releasing Party’s Claims in the Bankruptcy Case, or in any other
                                        7                         action or proceeding, or any other act, event, occurrence, or matter whatsoever
                                                                  related to (i) the settlement of the Claims, (ii) the Bankruptcy Case, and/or (iii)
                                        8                         the relationship and/or alleged relationship between the Releasing Parties and the
                                        9                         Released Parties with regard to the Claims asserted or which could have been
                                                                  asserted with respect to such Releasing Party’s Claims in the Bankruptcy Case
                                       10                         (the “Release of Claims”).

                                       11
                                            See Perea Declaration, Exhibit 1.
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                                                    34.        The conditions precedent to the Settlement Agreement include:
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                                       13
                                                               a. Debtors shall file a motion to approve the Settlement Agreement under
                                       14                         Bankruptcy Rule 9019 of the Bankruptcy Code, no later than October 28, 2020,
                                                                  in form and substance satisfactory to the Debtors, the Committee and ACF, in
                                       15
                                                                  their reasonable discretion (the “9019 Settlement and Sale Support Motion”),
                                       16                         which the Parties agree to be heard on shortened notice.

                                       17                      b. The Final Settlement and Sale Support Order, in form and substance satisfactory
                                                                  to the Debtors, the Committee and ACF, in their reasonable discretion, shall have
                                       18                         been entered by the Bankruptcy Court, no later than November 13, 2020.
                                       19   See Perea Declaration, Exhibit 1.
                                       20
                                                    35.        The DIP Factor has consented to the segregation and use of the proceeds of the
                                       21
                                            Identified Assets on the terms set forth in the DIP Factor Limited Consent annexed as Exhibit 2
                                       22
                                            to the Perea Declaration. See Perea Declaration, Exhibit 1, pp. 21-22.
                                       23
                                       24                                                        V.
                                       25                                            LEGAL AUTHORITY
                                       26
                                            A.      Legal Standard.
                                       27
                                                    "Compromises are a normal part of the process of reorganization." Protective Comm. for
                                       28

                                                                                                 21
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                                        1   Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968) (citations
                                        2   and internal quotation marks omitted). Accordingly, Bankruptcy Rule 9019 provides: “On motion
                                        3   by the trustee and after notice and a hearing, the court may approve a compromise or settlement.”
                                        4   Fed. R. Bankr. P. 9019(a).
                                        5           The Court is afforded "great latitude in approving compromise agreements." Woodson v.
                                        6   Fireman’s Fund Ins. Co. (In re Woodson), 839 F.2d 610, 620 (9th Cir. 1988). “The purpose of a
                                        7   compromise agreement is to allow the trustee and the creditors to avoid the expenses and burdens
                                        8   associated with litigating sharply contested and dubious claims.” Martin v. Kane (In re A&C
                                        9   Props.), 784 F.2d 1377, 1380-81 (9th Cir. 1986). Moreover, “[t]he law favors compromise and not

                                       10   litigation for its own sake . . . .” Id. at 1381. Accordingly, to approve a settlement agreement, a

                                       11   bankruptcy court need not conduct a mini-trial on the merits of the claims or an exhaustive
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                                       12   investigation into the underlying dispute between the parties. United States v. Alaska Nat'l Bank (In
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                                       13   re Walsh Constr., Inc.), 669 F.2d 1325, 1328 (9th Cir. 1982). It is sufficient that the court find that

                                       14   the settlement was negotiated in good faith and that it is fair and equitable. A&C Props., 784 F.2d

                                       15   at 1381.

                                       16           The Ninth Circuit has identified four factors that a bankruptcy court must consider in

                                       17   determining whether a proposed settlement agreement is reasonable, fair and equitable:

                                       18                      (a)   the probability of success in the litigation;
                                       19                      (b)   the difficulties, if any, to be encountered in the matter of collection;
                                       20                      (c)   the complexity of the litigation involved, and the expense, inconvenience and
                                       21                            delay necessarily attending it; and
                                       22                      (d)   the paramount interest of the creditors and a proper deference to their
                                       23                            reasonable views in the premises.
                                       24   A & C Props., 784 F.2d at 1381 (citations omitted).

                                       25           In considering these factors, bankruptcy courts need only canvass the issues, not decide

                                       26   disputed facts and questions of law. See Burton v. Ulrich (In re Schmitt), 215 B.R. 417, 423

                                       27   (B.A.P. 9th Cir. 1997). “If the court were required to do more than canvass the issue[s], ‘there

                                       28   would be no point in compromising; the parties might as well go ahead and try the case.’” Suter v.

                                                                                                 22
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                                        1   Goedert (In re Suter), 396 B.R. 535, 548 (D. Nev. 2008) (quoting 10 Collier on Bankruptcy, ¶
                                        2   9019.02).     Additionally, “while creditors’ objections to a compromise must be afforded due
                                        3   deference, such objections are not controlling.” A & C Props., 784 F.2d at 1382. Indeed, the
                                        4   settlement need not be the best that could have been achieved, but only must not fall "below the
                                        5   lowest point in the range of reasonableness.” In re Pac. Gas & Elec. Co., 304 B.R. 395, 417 (Bankr.
                                        6   N.D. Cal. 2004) (quoting In re Drexel Burnham Lambert Group, Inc., 134 B.R. 493, 496 (Bankr.
                                        7   S.D.N.Y. 1991) (citations and internal quotation marks omitted)); accord Redwood Trust v. Am.
                                        8   Bldg. Storage, LLC (In re Am. Bldg. Storage, LLC), No. CC-06-1259-MOPAD, 2007 WL
                                        9   7532281, at *5 (B.A.P. 9th Cir. Apr. 2, 2007) (not for publication).

                                       10   B.      The A&C Properties Factors Weigh in Favor of Approving the Settlement Agreement.

                                       11   The Settlement Agreement should be approved because the A&C Properties factors favor the
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                                       12   approval. The Debtors believe that the Settlement Agreement is in the best interests of all of their
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                                       13   estates and creditors and therefore should be approved. Specifically, if the Settlement Agreement is

                                       14   approved, then the Parties can proceed promptly to the 363 Sale, thus saving significant not only

                                       15   legal fees and expenses associated with an objection from the Committee, but also preventing the

                                       16   liquidation of the Debtors under chapter 7 that would likely ensue from the delay engendered by

                                       17   litigation. The Debtors’ business and financial position has substantially deteriorated during the

                                       18   pendency of the Bankruptcy Case and given the exigent circumstances surrounding the Debtors, the
                                       19   Parties are extremely concerned that the Debtors will be required to liquidate through chapter 7
                                       20   proceedings which will not maximize value for creditors if an auction is not conducted immediately
                                       21   for a 363 Sale of the Debtors’ Assets in accordance with the timeline set forth in the Letter of Intent.
                                       22   See Perea Declaration, ¶ 28 & Exhibit 1.
                                       23           Moreover, approval of the Settlement Agreement will resolve the Committee Objection to
                                       24   the TD Venture 9019 Motion and clear the way for its prompt approval. By divesting the Hawaii

                                       25   Property and the Membership Interest through the TD Venture Settlement Agreement, TD Venture

                                       26   will not only be able to reduce the balance of the Loan for the collective benefit of the Borrowing

                                       27   Debtors’ estates, but it will also shed non-income producing assets that it does not have the financial

                                       28   wherewithal to maintain. See Perea Declaration, ¶ 29.

                                                                                              23
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                                        1           Each of the A&C Properties factors is analyzed below:
                                        2               •      First, with respect to the probability of success in litigation, the Debtors believe that
                                        3                      Parties have put forth solid arguments and evidence to support their positions with
                                        4                      respect to the 363 Sale and TD Venture 9019 Motion. While the Debtors believe
                                        5                      that the evidence presented thus far demonstrated a reasonable likelihood of success
                                        6                      on contested issues before the Court, there is always uncertainty with litigation, and
                                        7                      resolving the issues will provide Debtors with the ability to proceed promptly to a
                                        8                      resolution of the Bankruptcy Case via the 363 Sale, the TD Venture Settlement
                                        9                      Agreement, and the establishment of the Liquidating Trust in a manner that does not
                                       10                      prejudice them, their estates or any other creditor. See Perea Declaration, ¶ 30.
                                       11               •      Second, with respect to any difficulties to be encountered in the matter of collections,
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                                       12                      this factor does not apply to this Court’s analysis of the Settlement Agreement, as
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                                       13                      there are no amounts owed to the Debtors which are affected by this settlement. See

                                       14                      Perea Declaration, ¶ 31.

                                       15               •      Third, “the complexity of the litigation involved, and the expense, inconvenience and

                                       16                      delay necessarily attending it,” is arguably the most important factor when analyzing

                                       17                      the pending Settlement Agreement. If the Settlement Agreement is not approved or

                                       18                      does not become effective for any reason, resolution of the pending disputes between
                                       19                      the Parties not only will require a substantial investment of Debtors’ time and
                                       20                      resources (see Scheduled Discovery), but the ensuing delay will likely force a
                                       21                      chapter 7 liquidation of the Debtors’ assets to the detriment of the Debtors, their
                                       22                      creditors and estates. See Perea Declaration, ¶ 32.
                                       23               •      Finally, when analyzing the paramount interest of the creditors and a proper
                                       24                      deference to their reasonable views in the premises, it is of utmost importance to note

                                       25                      that the Committee and the Debtors’ largest creditor have approved the terms of the

                                       26                      Settlement Agreement after extensive negotiations. Moreover, the DIP Factor has

                                       27                      given its Limited Consent to the Settlement Agreement. The terms of the Settlement

                                       28                      Agreement were reached in good faith, and with the goal of reaching a compromised

                                                                                                  24
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                                        1                      resolution so that the Bankruptcy Case can proceed to a prompt resolution. See
                                        2                      Perea Declaration, ¶ 33.
                                        3           Therefore, it is in the Debtors’ and their creditors’ best interests to proceed with the
                                        4   Settlement Agreement on the terms set forth above and detailed in the Settlement Agreement itself.
                                        5                                                        VI.
                                        6                                                       NOTICE
                                        7           Notice of this Motion will be served upon: (a) the Office of the United States Trustee for the
                                        8   District of Nevada; (b) counsel to the Committee; (c) counsel to ACF; (d) counsel to the DIP Factor;
                                        9   (e) all secured creditors; and (f) all parties that have filed a request for special notice in the
                                       10   Bankruptcy Case, pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested,
                                       11   the Debtors respectfully submit that no further notice is necessary and that any additional notice
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    Las Vegas, Nevada 89135




                                       12   should be excused.
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                                       13                                                        VII.
                                       14                                                 CONCLUSION
                                       15           The Settlement Agreement should be approved for the reasons set forth above. The
                                       16   Settlement Agreement is fair and equitable and was by all accounts negotiated in good faith and
                                       17   otherwise satisfactorily meets the Ninth Circuit’s test for approving compromises of controversies
                                       18   under Bankruptcy Rule 9019.
                                       19           WHEREFORE, for all of the foregoing reasons, the Debtors respectfully request that this
                                       20   Court enter an Order, in the form attached as Exhibit A hereto: (i) approving the Settlement
                                       21   Agreement; (ii) authorizing the Debtors to take all actions contemplated by the Settlement
                                       22   Agreement; and (iii) granting such further relief as the Court deems just and proper.
                                       23           DATED this 28th day of October, 2020.
                                       24                                                 FOX ROTHSCHILD LLP
                                       25                                                 By:       /s/Brett A. Axelrod
                                                                                              BRETT A. AXELROD, ESQ.
                                       26
                                                                                              Nevada Bar No. 5859
                                       27                                                     1980 Festival Plaza Drive, Suite 700
                                                                                              Las Vegas, Nevada 89135
                                       28                                                 Counsel for Debtors

                                                                                                  25
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                                        1                                             EXHIBIT A
                                        2                                        **PROPOSED ORDER**

                                        3
                                        4
                                        5
                                        6   BRETT A. AXELROD, ESQ.
                                            Nevada Bar No. 5859
                                        7   FOX ROTHSCHILD LLP
                                            1980 Festival Plaza Drive, Suite 700
                                        8   Las Vegas, Nevada 89135
                                            Telephone: (702) 262-6899
                                        9   Facsimile: (702) 597-5503
                                            Email: baxelrod@foxrothschild.com
                                       10   Counsel for Debtors

                                       11                              UNITED STATES BANKRUPTCY COURT
1980 Festival Plaza Drive, Suite 700




                                                                                  DISTRICT OF NEVADA
    Las Vegas, Nevada 89135




                                       12
     FOX ROTHSCHILD LLP



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                                            In re                                                   Case No. BK-S-20-12814-mkn
                                       13
                                                    RED ROSE, INC.,                                 Jointly Administered with
                                       14                                                           Case No. BK-S-20-12815-mkn
                                                      Affects Beachhead Roofing and Supply, Inc.    Case No. BK-S-20-12816-mkn
                                       15             Affects California Equipment Leasing          Case No. BK-S-20-12818-mkn
                                                       Association, Inc.                            Case No. BK-S-20-12819-mkn
                                       16             Affects Fences 4 America, Inc.                Case No. BK-S-20-12820-mkn
                                                      Affects James Petersen Industries, Inc.       Case No. BK-S-20-12821-mkn
                                       17             Affects PD Solar, Inc.                        Case No. BK-S-20-12822-mkn
                                                      Affects Petersen Roofing and Solar LLC        Case No. BK-S-20-12823-mkn
                                       18             Affects Petersen-Dean, Inc.                   Case No. BK-S-20-12824-mkn
                                                      Affects PetersenDean Hawaii LLC               Case No. BK-S-20-12825-mkn
                                       19             Affects PetersenDean Roofing and Solar        Case No. BK-S-20-12826-mkn
                                                       Systems, Inc.                                Case No. BK-S-20-12827-mkn
                                       20             Affects PetersenDean Texas, Inc.              Case No. BK-S-20-12829-mkn
                                                      Affects Red Rose, Inc.                        Case No. BK-S-20-12831-mkn
                                       21             Affects Roofs 4 America, Inc.                 Case No. BK-S-20-12833-mkn
                                                      Affects Solar 4 America, Inc.
                                       22             Affects Sonoma Roofing Services, Inc.         Chapter 11
                                                      Affects TD Venture Fund, LLC
                                       23             Affects Tri-Valley Supply, Inc.               ORDER GRANTING DEBTORS’
                                                      Affects All Debtors                           MOTION FOR APPROVAL OF
                                       24                                                           COMPROMISE, PURSUANT TO FED.
                                                                                                    R. BANKR. P. 9019, BY AND AMONG
                                       25                                                           DEBTORS, ACF FINCO I, LP AND THE
                                                                                                    OFFICIAL COMMITTEE OF
                                       26                                                           UNSECURED CREDITORS
                                       27                                                           Hearing Date:
                                                                                                    Hearing Time:
                                       28

                                                                                               26
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                                        1           The Court, having reviewed and considered the Debtors’ Motion5 for an order, pursuant to
                                        2   Rule 9019 of the Federal Rules of Bankruptcy Procedure, for approval of the Settlement Agreement
                                        3   as more fully set forth in the Motion; and upon consideration of the Declaration of Jeffrey C. Perea
                                        4   in support thereof; and the Debtors having appeared by and through their counsel, Fox Rothschild
                                        5   LLP, and all other appearances having been noted on the record; the Court having stated its findings
                                        6   of fact and conclusions of law on the record at the hearing on the Motion, which findings of fact and
                                        7   conclusions of law are incorporated herein by this reference in accordance with Federal Rule of
                                        8   Civil Procedure 52, as made applicable by Bankruptcy Rule 9014; and it appearing that the relief
                                        9   requested is warranted on the grounds, among others, that the Settlement Agreement: (a) was
                                       10   negotiated in good faith and is fair and equitable, (b) contemplates an immediate resolution of the
                                       11   resolves claims or disputes between the Parties on terms favorable to the Debtors, their creditors
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                                       12   and their estates; (c) avoids litigation which could prove to be protracted and expensive; and (d) is
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                                       13   in the best interests of the Debtors, their creditors and estates because it resolves any claims or
                                       14   disputes between the Parties without the incurrence of additional expense and paves the way for the
                                       15   prompt resolution of the Bankruptcy Case via the 363 Sale, the TD Venture Settlement Agreement,
                                       16   and the establishment of the Liquidating Trust; after due deliberation and sufficient cause appearing
                                       17   therefor, it is hereby:
                                       18           ORDERED that the Motion is GRANTED; and
                                       19           IT IS FURTHER ORDERED that:
                                       20           1.         The Settlement Agreement is approved;
                                       21           2.         The Debtors are authorized to take all actions contemplated by the Settlement
                                       22                      Agreement;
                                       23           3.         This Court shall, and hereby does, retain jurisdiction with respect to all matters
                                       24                      arising from or related to the implementation and interpretation of this Order.

                                       25
                                       26
                                                5
                                       27        All capitalized, undefined terms shall have the meaning ascribed to them in the Debtors’
                                            Motion for Approval of Settlement, Pursuant to Fed. R. Bankr. P. 9019, by and Among Debtors,
                                       28   ACF Finco I LP and the Official Committee of Unsecured Creditors (the “Motion”).

                                                                                                 27
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                                        1   Prepared and Respectfully Submitted by:
                                        2   FOX ROTHSCHILD LLP
                                        3   By    /s/Brett A. Axelrod
                                        4     BRETT A. AXELROD, ESQ.
                                              Nevada Bar No. 5859
                                        5     1980 Festival Plaza Drive, Suite 700
                                              Las Vegas, Nevada 89135
                                        6     Telephone: (702) 262-6899
                                            Counsel for Debtors
                                        7
                                        8
                                            APPROVED/DISAPPROVED:
                                        9
                                            OFFICE OF THE UNITED STATES TRUSTEE
                                       10
                                            BY:
                                       11
                                                  Edward M. McDonald, Jr.
1980 Festival Plaza Drive, Suite 700




                                                  Trial Attorney for United States Trustee,
    Las Vegas, Nevada 89135




                                       12
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       (702) 597-5503 (fax)




                                                  Tracy Hope Davis
          (702) 262-6899




                                       13
                                       14
                                                        CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
                                       15
                                                  In accordance with Local Rule 9021, counsel submitting this document certifies as follows:
                                       16
                                                               The Court has waived the requirement of approval in LR 9021(b)(1).
                                       17
                                                               No party appeared at the hearing or filed an objection to the motion
                                       18
                                       19                      I have delivered a copy of this proposed order to all counsel who
                                                               appeared at the hearing, any unrepresented parties who appeared at the
                                       20                      hearing, and each has approved or disapproved the order, or failed to
                                                               respond, as indicated below:
                                       21
                                                                 EDWARD M. MCDONALD, JR.,
                                       22                        OFFICE OF THE UNITED STATES
                                       23                        TRUSTEE

                                       24                          Approved / Disapproved

                                       25                      I certify that this is a case under Chapter 7 or 13, that I have served a
                                                               copy of this order with the motion pursuant to LR 9014(g), and that no
                                       26
                                                               party has objected to the form or content of the order.
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